                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION (DETROIT)

In re:                                                         Chapter 11

Triton Automation Group LLC.,                                  Case No. 18-54684

         Debtor.                                               Hon. Mark A. Randon
                                                /

                      ORDER FOR INITIAL CHAPTER 11 STATUS CONFERENCE

      The debtor filed this Chapter 11 case on October 30, 2018. Pursuant to ' 105(d) of the
Bankruptcy Code,

        IT IS HEREBY ORDERED that a status conference shall be held on December 10, 2018,
at 11:00 a.m., before the Honorable Mark A. Randon, in Courtroom 1825, 211 West Fort Street,
Detroit, Michigan 48226. The debtor-in-possession and the attorney for the debtor-in-possession
shall appear.

         At this conference, the following matters will be addressed:

                (1)     The appointment and fees of professionals.
                (2)     The obligations of the debtor-in-possession under Chapter 11.
                (3)     A deadline for filing a plan.
                (4)     The issues in the case.
                (5)     Whether and when motions might be filed.
                (6)     Cash collateral matters.
                (7)     Whether to use an expedited confirmation procedure in order to reduce
                        delay and expense.
                (8)     Other matters contemplated by ' 105(d)(2) of the Bankruptcy Code.

         Creditors are invited, but not required, to attend.

        The debtor’s attorney shall immediately serve a copy of this order on the 20 largest
creditors, all secured creditors (and any known counsel for same), and the U.S. Trustee’s
Office and promptly file a proof of service. The failure of the debtor to comply with terms of
this order may result in dismissal.

Signed on November 01, 2018




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